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  9         Attorneys for Plaintiffs Robert Radcliffe, Chester Carter, Maria Falcon,
            Clifton C. Seale, III, Arnold E. Lovell, and all others similarly situated.
 10                        UNITED STATES DISTRICT COURT
 11                       CENTRAL DISTRICT OF CALIFORNIA
                                      (Southern Division)
 12
 13                                            Case No. 05-CV-1070 DOC (MLGx)
      TERRI N. WHITE, et al.,                  (Lead Case)
 14
                     Plaintiffs,               THE WHITE PLAINTIFFS AND THE
 15                                            WHITE PLAINTIFFS’ COUNSEL’S
           v.                                  NOTICE OF MOTION AND MOTION
 16                                            FOR ENTRY OF SEPARATE
      EXPERIAN INFORMATION                     JUDGMENT AND FOR ATTORNEYS’
 17   SOLUTIONS, INC.,                         FEES AND COSTS
 18                  Defendant.
 19
      And Related Actions.
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                                                                        WHITE PLAINTIFFS’ MOTION
                                                                            FOR ATTORNEYS’ FEES
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  1         PLEASE TAKE NOTICE that on May 21, 2018, at 8:30 am, or as soon
  2   thereafter as the matter may be heard, the White Plaintiffs and the White Plaintiffs’
  3   counsel, the Law Offices of Daniel Wolf (“Wolf”) and Charles Juntikka &
  4   Associates (“Juntikka”), will and hereby do move the Court (1) to enter a separate
  5   judgment in accordance with Fed. R. Civ. P. 58; and (2) for an order awarding
  6   attorneys’ fees and expenses for their work in support of the class prior to their
  7   objection to the first proposed monetary relief settlement (which Order should be
  8   deferred pending appeal).
  9         This motion is made pursuant to Fed. R. Civ. P. 58, Fed. R. Civ. P.
 10   54(d)(2)(B) and Local Rule 54-12 on the following grounds:
 11          This Court issued an order on April 6, 2018 but did not enter a judgment
 12             in a separate document. White Plaintiffs request entry of a judgment in a
 13             separate document in accordance with Fed. R. Civ. P. 58(a) and (d).
 14          Wolf and Juntikka expended thousands of hours of time and incurred tens
 15             of thousands of dollars in costs that contributed to the Injunctive Relief
 16             Settlement and the creation of the Monetary Relief Settlement’s common
 17             fund.
 18          In its Injunctive Relief Fee Orders (Dkt. No. 793, Dkt. No. 839), this
 19             Court awarded Wolf and Juntikka $57,238 in costs incurred in connection
 20             with the prosecution and settlement of Plaintiffs’ injunctive relief claims.
 21          Wolf and Juntikka sought attorneys’ fees for obtaining the Injunctive
 22             Relief Settlement. Pursuant to this Court’s Order (Dkt. No. 775), Wolf
 23             and Juntikka entered discussions with Settling Counsel regarding the
 24             distribution of fees in connection with the prosecution and settlement of
 25             Plaintiffs’ injunctive relief claims and subsequently filed a Joint Statement
 26             with the Court (Dkt. No. 787) stating that they had reached an agreement
 27             on such distribution.
 28
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                                                                         WHITE PLAINTIFFS’ MOTION
                                                                             FOR ATTORNEYS’ FEES
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  1         Wolf and Juntikka seek $74,958 in costs incurred in connection with the
  2           prosecution and settlement of Plaintiffs’ monetary relief claims.
  3         Wolf and Juntikka are entitled to a fair share of any attorneys’ fees
  4           awarded in connection with the prosecution and settlement of Plaintiffs’
  5           monetary relief claims. They are seeking $3,330,392 in attorneys’ fees (to
  6           be adjusted by a fair distribution of fees as determined by the parties’ joint
  7           persecution agreement), representing their relative lodestar contribution to
  8           the Monetary Relief Settlement.
  9         Wolf and Juntikka and Settling Counsel agree that in accordance with
 10           their joint prosecution agreement, any dispute regarding distribution of
 11           fees awarded in connection with the prosecution of Plaintiffs’ monetary
 12           relief claims should be resolved through binding arbitration.
 13         Wolf and Juntikka’s objection to the Monetary Relief Settlement does not
 14           vitiate their right to reimbursement.
 15         In prior orders (Order, Nov. 21, 2011 (Dkt. No. 855), and Order, Feb. 12,
 16           2012 (Dkt. No. 860)), this Court deferred ruling on Wolf and Juntikka’s
 17           Rule 54(d)(2) motion for fees and costs in connection with the original
 18           monetary relief settlement. For the same reasons, Wolf and Juntikka
 19           believe that the Court should defer ruling on their present motion until
 20           after the White Plaintiffs’ appeal of its order approving the Monetary
 21           Relief Settlement has been resolved.
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                                                                       WHITE PLAINTIFFS’ MOTION
                                                                           FOR ATTORNEYS’ FEES
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  1   DATED: April 20, 2018       DANIEL WOLF LAW OFFICES
  2                                   Daniel Wolf

  3                                     CHARLES JUNTIKKA & ASSOCIATES
  4                                     LLP
                                        Charles Juntikka
  5
  6                               By    /s/ Daniel Wolf
                                        Daniel Wolf
  7
  8                               Attorneys for Plaintiffs Robert Radcliffe, Chester
                                  Carter, Maria Falcon, Clifton C. Seale, III, and
  9                               Arnold E. Lovell
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                                                                   WHITE PLAINTIFFS’ MOTION
                                                                       FOR ATTORNEYS’ FEES
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2         The White Plaintiffs and the White Plaintiffs’ counsel, the Law Offices of
  3   Daniel Wolf (“Wolf”) and Charles Juntikka & Associates (“Juntikka”), respectfully
  4   submit this memorandum of points and authorities in support of their motion for
  5   entry of judgment in accordance with Fed. R. Civ. P. 58(a) and for attorneys’ fees
  6   and costs.
  7         I.     The Court Should Enter a Judgment In A Separate Document
  8         Under Rule 58(a), “[e]very judgment and amended judgment must be set out
  9   in a separate document.” Rule 58(d) provides that any “party may request that
 10   judgment be set out in a separate document as required by Rule 58(a).”
 11         This Court’s April 6, 2018 order combines its recitation of the facts, legal
 12   reasoning and disposition in one document. It states that it “constitutes a judgment
 13   for purposes of Federal Rule of Civil Procedure 58.” (Dkt. No. 1135 at 47.)
 14   However, Rule 58(a) requires that “[e]very judgment and amended judgment must
 15   be set out in a separate document.” The separate judgment rule is important for
 16   delineating the judgment and measuring deadlines. The White Plaintiffs request
 17   that the Court enter judgment in a separate document in accordance with Rule 58(a)
 18   and (d).
 19         II.    The Court Should Award Wolf and Juntikka Attorneys’ Fees and
                   Expenses
 20
                      A. Standard for Awarding Fees and Expenses
 21
           Rule 54(d)(2)(B) prescribes the content of a motion for attorneys’ fees and
 22
      associated costs. Under that rule, the motion need only: (1) “specify the judgment
 23
      and the statute, rule, or other grounds entitling the movant to the award”; (2) “state
 24
      the amount sought or provide a fair estimate of it”; and (3) “disclose, if the court so
 25
      orders, the terms of any agreement about fees for the services for which the claim is
 26
      made.”
 27
 28
                                                 4
                                                                         WHITE PLAINTIFFS’ MOTION
                                                                             FOR ATTORNEYS’ FEES
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  1
           The Advisory Committee Notes underscore that Rule 54(d)(2)(B) “does not
  2
      require that the motion be supported at the time of filing with the evidentiary
  3
      material bearing on the fees.” Rather, all the moving party must do in that motion
  4
      is set forth information “sufficient to alert the adversary and the court that there is a
  5
      claim for fees and the amount of such fees (or a fair estimate).” Id. As this Court
  6
      stated in its April 6, 2018 order, “[i]n moving for fees to be paid from a common
  7
      fund, counsel is not required to submit their detailed time records.” (Dkt. No. 1135,
  8
      at p. 34.)
  9
           Under Fed. R. Civ. P. 54(b)(2)(B), a motion for attorneys’ fees must be filed
 10
      within fourteen days of the entry of judgment “unless a statute or court order
 11
      provides otherwise.” This motion is being filed within fourteen after this Court’s
 12
      April 6, 2018 order granting the motion for final approval and attorneys’ fees.
 13
      Further, there is no statute or court order that provides for a different time period
 14
      for this motion. Accordingly, to the extent that this Court’s April 6, 2018 order
 15
      were to be regarded as an entry of judgment under Fed. R. Civ. P. 58, this motion is
 16
      timely under the terms of Fed. R. Civ. P. 54(b)(2)(B).
 17
                       B. Wolf and Juntikka’s Fees are Reasonable and Proper
 18
           Wolf and Juntikka seek attorneys’ fees and costs for their work toward
 19
      obtaining monetary relief for the class, performed prior to the time they objected to
 20
      the first proposed monetary relief settlement.
 21
                          1) Injunctive Relief Fees and Costs
 22
           This Court has already ruled that Wolf and Juntikka are entitled to
 23
      reimbursement for the attorneys’ fees and costs they incurred in connection with
 24
      Plaintiffs’ injunctive relief claims. Specifically, in its order of September 10, 2011
 25
      (Dkt. No. 839), which it reaffirmed in its April 6, 2018 order, this Court awarded
 26
      Wolf and Juntikka $57,238 in costs incurred in connection with the prosecution and
 27
      settlement of those claims (see also Order of August 5, 2011, Dkt. No. 793
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                                                                           WHITE PLAINTIFFS’ MOTION
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  1
      (specifying Wolf and Juntikka’s share of reimbursable injunctive relief-related
  2
      costs)). Likewise, in its order of July 15, 2011 (Dkt. No. 775), which it also
  3
      affirmed in its April 6, 2018 order, this Court held that any “attorneys’ fees
  4
      awarded for the injunctive relief settlement is to be divided fairly among all
  5
      members of the Injunctive Relief Class Counsel team,” including Wolf and
  6
      Juntikka. (Dkt. No. 775 at 8.) In that same order, this Court “strongly encouraged”
  7
      the parties “to establish a plan for the proper distribution of attorneys’ fees,” which
  8
      would provide for such a fair division. Id. at 8. The parties subsequently did so and,
  9
      on July 29, 2011, submitted a Joint Statement to the Court (Dkt. No. 787), stating
 10
      that they had reached agreement on a distribution plan. Accordingly, this Court has
 11
      determined that Wolf and Juntikka are entitled to their fees and expenses for their
 12
      work in relation to the Injunctive Relief Settlement.
 13
                          2) Monetary Relief Fees and Costs
 14
           With regard to the obtaining of monetary relief, this Court ruled in its April 6,
 15
      2018 order that Settling Counsel are entitled to: (1) the reimbursement of the costs
 16
      they incurred in connection with the pursuit of those claims; and (2) an award of
 17
      attorneys’ fees in the amount of approximately 20% of the common fund
 18
      established by the Monetary Relief Settlement.
 19
           The White Plaintiffs and their counsel believe that the Court erred in
 20
      approving the Monetary Relief Settlement in this case and, hence, that no attorneys’
 21
      fees or costs are due in connection with that settlement. The White Plaintiffs and
 22
      their counsel further believe that a fee award of 20% of the common fund is
 23
      excessive in that it is disproportionate to the meager awards that the Monetary
 24
      Relief Settlement provides to class members. However, to the extent the Monetary
 25
      Relief Settlement and the Court’s order awarding fees survive any appeal, Wolf and
 26
      Juntikka are entitled to a fair and proportionate share of any fee award that might
 27
      also survive that appeal.
 28
                                                 6
                                                                         WHITE PLAINTIFFS’ MOTION
                                                                             FOR ATTORNEYS’ FEES
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  1
           Wolf and Juntikka are entitled to their fees and costs for their work in
  2
      connection with Plaintiffs’ monetary relief claims because that work contributed to
  3
      the class obtaining the common fund provided for in the settlement. In re Hyundai
  4
      and Kia Fuel Economy Litig., 881 F.3d 679, 705 (9th Cir. 2018). As set forth above,
  5
      this Court has already held that with regard to the pre-objection hours and costs
  6
      they incurred in connection with the Injunctive Relief Settlement, Wolf and
  7
      Juntikka stand on the same footing as Settling Counsel. That is, this Court ruled that
  8
      Wolf and Juntikka are entitled both to (1) reimbursement of all of the costs that they
  9
      incurred, and (2) a fair distribution of the fees that were awarded in connection with
 10
      that settlement. Further, as Settling Counsel have themselves maintained (Plaintiffs’
 11
      Memorandum in Support of Motion for Attorneys’ Fees for Injunctive Relief
 12
      Settlement, Dec. 21, 2009, at 16, n. 12 (Dkt. No. 575)), and as this Court has
 13
      acknowledged (Hearing Tr., Aug. 19, 2008, at 19 (Dkt. 504)), the vast majority of
 14
      the hours that were billed to (and costs that were incurred in) this matter prior to the
 15
      conclusion of the Injunctive Relief Settlement benefitted Plaintiffs’ injunctive and
 16
      monetary relief claims alike and, hence, cannot be parsed between the two.
 17
      Accordingly, the hours and costs Wolf and Juntikka incurred in connection with
 18
      Plaintiffs’ monetary relief claims are equally deserving of compensation as the
 19
      hours and costs and hours that they incurred in connection with Plaintiffs’
 20
      injunctive relief claims.
 21
           The fact that Wolf and Juntikka ended up objecting to the Monetary Relief
 22
      Settlement does not vitiate their right to reimbursement for the costs they incurred
 23
      and the hours that they billed until that time. See, e.g., Elliot v. Sperry Rand Corp.,
 24
      680 F.2d 1225, 1227 (8th Cir. 1982) (holding that named plaintiffs who became
 25
      dissenters were entitled to “an appropriate award of attorneys’ fees . . . for services
 26
      in proceedings leading to approval of the settlement”); Ace Heating & Plumbing
 27
 28
                                                 7
                                                                          WHITE PLAINTIFFS’ MOTION
                                                                              FOR ATTORNEYS’ FEES
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  1
      Co. v. Crane Co., 453 F.2d 30, 35 (3d Cir. 1971) (same); Holden v. Burlington
  2
      Northern, Inc., 665 F. Supp. 1398, 1431 (D. Minn. 1987).
  3
           As to costs, the White Plaintiffs and their counsel seek reimbursement in the
  4
      amount of $74,958 for the pre-objection expenses that they incurred in connection
  5
      with the Monetary Relief Settlement. This amount consists of (1) $16,434 in
  6
      expenses that Wolf incurred and $38,841 in expenses that Juntikka incurred in
  7
      connection with Plaintiffs’ monetary relief claims prior to the settlement of
  8
      Plaintiffs’ injunctive relief claims; and (2) $11,593 in expenses that Wolf incurred
  9
      and $8,080 in expenses that Juntikka incurred in connection with Plaintiffs’
 10
      monetary relief claims between the time of the Injunctive Relief Settlement and
 11
      February 6, 2009. (Declaration of Daniel Wolf, sworn to Apr. 20, 2018 (“Wolf
 12
      4/20/18 Decl.”) ¶¶ 4-9; Declaration of Daniel Wolf, sworn to Aug. 1. 2011, Dkt.
 13
      No. 790 (“Wolf 8/1/11 Decl.”) ¶¶ 4-9; Declaration of Charles Juntikka, sworn to
 14
      Apr. 20, 2018 (“Juntikka 4/20/18 Decl.”) ¶¶ 2-6; Declaration of Charles Juntikka,
 15
      sworn to July 30, 2011, Dkt. No. 789 (“Juntikka 7/30/11 Decl.”) ¶¶ 3-6.
 16
           As set forth above, this Court has already found that (1) the expenses that
 17
      Wolf and Juntikka incurred in connection with Plaintiffs’ injunctive relief claims
 18
      were reasonable and reimbursable, and (2) those expenses cannot reasonably be
 19
      segregated from the expenses Wolf and Juntikka incurred in connection with
 20
      Plaintiffs’ monetary relief claims. Accordingly, the issue of the reasonableness of
 21
      those expenses has already been determined and, hence, Wolf and Juntikka are
 22
      entitled to reimbursement for the combined $53,275 in monetary relief claim-
 23
      related cost that they incurred during that period.
 24
           Likewise, Wolf and Juntikka are entitled to the combined $16,573 in pre-
 25
      objection, monetary relief-related costs that they incurred subsequent to the
 26
      settlement of Plaintiffs’ injunctive relief claims through February 6, 2009, when
 27
      they began objecting to the first proposed monetary relief settlement. These costs
 28
                                                 8
                                                                        WHITE PLAINTIFFS’ MOTION
                                                                            FOR ATTORNEYS’ FEES
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  1
      consist solely of travel-related expenses in the combined amount of $13,263 and, in
  2
      the case of Wolf, computerized research expenses in the amount of $3,310. (Wolf
  3
      4/20/18 Decl. ¶¶ 6-7; Juntikka 4/20/18 Decl. ¶ 5.) These costs are itemized in the
  4
      same amount of detail and are in the same range on a per trip basis as the pre-
  5
      injunctive relief settlement costs that this Court has already approved. Accordingly,
  6
      this Court should award Wolf and Juntikka all of the costs for which they seek
  7
      reimbursement in connection with their pre-objection prosecution of Plaintiffs’
  8
      monetary relief claims or a total of $74,958.
  9
           As to attorneys’ fees, as set forth above, in its order of July 15, 2011, this
 10
      Court held that Wolf and Juntikka were entitled to a fair division of the injunctive
 11
      relief fee award and “strongly encouraged” the parties to establish a plan for such a
 12
      fair division. (Dkt. No. 775 at 8). For the same reasons and all of those set forth
 13
      herein, this Court should likewise hold that Wolf and Juntikka are entitled to a fair
 14
      division of the monetary relief fee award and order that the parties engage in a
 15
      dialogue aimed at agreeing on such a fair division. Id. at 8.1
 16
           In this connection, the White Plaintiffs and their counsel are not asking this
 17
      Court to increase the proportion of the common fund allocable to attorneys’ fees.
 18
      Indeed, as set forth above, if anything, the White plaintiffs and their counsel believe
 19
      that that proportion should be reduced below 20 percent. However, this Court
 20
      should issue an order making clear that Wolf and Juntikka are as much entitled to a
 21
      fair division of the monetary relief fees as they are a fair division of the injunctive
 22
      relief fees. Or, to put it another way, this Court should make clear that its fee award
 23
      representing 20% of the common fund is an amount available to all counsel who
 24
      contributed to the monetary relief settlement, including Wolf and Juntikka.
 25
 26   1
        In their Opposition to the White Plaintiffs’ Statement Regarding their Entitlement
 27   to Attorneys’ Fees (Dkt. No. 1119), Settling Counsel stated that they were willing
      to engage in such a dialogue on fee allocation. Id. at 2.
 28
                                                  9
                                                                          WHITE PLAINTIFFS’ MOTION
                                                                              FOR ATTORNEYS’ FEES
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  1
           The reasonable hours expended by Wolf and Juntikka in prosecuting
  2
      Plaintiffs’ monetary relief claims are no less entitled to reimbursement than are the
  3
      reasonable hours expended by Settling Counsel (including counsel such as Mitchell
  4
      Toups who withdrew from this litigation by 2011). Wolf’s lodestar in regard to
  5
      those claims (at current market rates) comes to a total of $1,693,800; Wolf 4/20/18
  6
      Decl. ¶¶ 11-14; Declaration of Daniel Wolf, sworn to Jan. 4, 2010, Dkt 596-2
  7
      (“Wolf 1/4/10 Decl.”), ¶ 19; Declaration of Daniel Wolf, sworn to Dec. 21, 2009,
  8
      Dkt. 572-2) (“Wolf 12/21/09 Decl.”) ¶ 31), and Juntikka’s lodestar (at current
  9
      market rates) comes to $1,336,592. Juntikka 4/30/18 Decl. ¶¶ 8-12; Declaration of
 10
      Charles Juntikka, sworn to Jan. 4, 2010, Dkt. No. 596-3 (“Juntikka 1/4/10 Decl.”) ¶
 11
      13; Declaration of Charles Juntikka, sworn to Dec. 21, 2009, Dkt. No. 572-3
 12
      (“Juntikka 1/21/09 Decl.”) ¶¶ 42-51. Accordingly, the combined lodestar of Wolf
 13
      and Juntikka comes to a total of $3,030,392.
 14
           Obviously, however, if all counsel who contributed to the monetary relief
 15
      settlement were to receive their requested fee award, the total award would exceed
 16
      20% of the common fund. Wolf and Juntikka are not requesting that the total
 17
      amount of the fees awarded be greater than the 20% awarded by the Court. Instead,
 18
      Wolf and Juntikka are requesting that they be awarded a fair distribution of fees to
 19
      come from the 20% already awarded.
 20
           Wolf and Juntikka are not asking the Court to determine that fair distribution
 21
      of fees here. Instead, as Settling Counsel have agreed, the allocation of fees among
 22
      counsel contributing to the monetary relief settlement – that is, the issue of how the
 23
      fee award pie should be allocated amongst them – is a matter that is governed by
 24
      their joint prosecution agreement and that is subject to binding arbitration under
 25
      that agreement. See Settling Plaintiffs’ Opposition to the White Plaintiffs’
 26
      Statement Regarding their Entitlement to Attorneys’ Fees, (Dkt. No. 1119) at 2.)
 27
      Accordingly, rather than determining the precise allocation of fees amongst
 28
                                                10
                                                                        WHITE PLAINTIFFS’ MOTION
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  1
      counsel, this Court should simply hold (1) that, as counsel who contributed to the
  2
      class settlement, Wolf and Juntikka are entitled to monetary relief fees, and (2) that
  3
      they are entitled to the same determination as to their lodestar contribution as this
  4
      Court has made for other counsel who are eligible to share in the fee award. As set
  5
      forth above, the amount of Wolf and Juntikka’s lodestar contribution in connection
  6
      with Plaintiffs’ monetary relief claims is $3,030,392.
  7
  8                   C. A Ruling on This Motion for Fees and Costs Should be
                         Deferred.
  9
           In both its initial order addressing Wolf and Juntikka’s Rule 54(d)(2)(B)
 10
      motion seeking fees in connection with the first proposed monetary relief settlement
 11
      (Minute Order, Nov. 21, 2011, Dkt. No. 855) and in its subsequent order denying
 12
      reconsideration (Minute Order, Feb. 12, 2012, Dkt. No. 860 (“2/2/12 Order”), this
 13
      Court ordered that a ruling on Wolf and Juntikka’s motion be deferred pending the
 14
      outcome of the White Plaintiffs’ appeal of that settlement. The Court held that such
 15
      deferral was warranted on the grounds that the motion for attorneys’ fees would
 16
      become moot and the time and resources spent adjudicating the fee issues would
 17
      have been wasted were the White Plaintiffs to prevail on their appeal. 2/12/12 Order
 18
      at 3. And, in fact, the White Plaintiffs did prevail on their appeal, thereby validating
 19
      this Court’s concerns.
 20
           The White Plaintiffs’ present Rule 54(d)(2)(B) motion presents precisely the
 21
      same concerns as their prior motion. Accordingly, for precisely the same reasons
 22
      that it deferred ruling on that prior motion, the Court should defer ruling on the
 23
      present one pending the resolution of the White Plaintiffs’ appeal of the proposed
 24
      Monetary Relief Settlement.2
 25
 26   2
        To the extent this Court decides not to defer a ruling on this motion, it should
 27   issue an order setting an appropriate schedule for the presentation of adversarial
      submissions and evidence. Fed. R. Civ. P. 54(b)(2)(B) and Notes of the Advisory
 28
                                                11
                                                                         WHITE PLAINTIFFS’ MOTION
                                                                             FOR ATTORNEYS’ FEES
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  1
                                             Conclusion
  2
           For the aforementioned reasons, this Court should (1) issue an entry of
  3
      judgment on a separate document as required by Fed. R. Civ. P. 58(a); (2) issue an
  4
      award to White Counsel reimbursing them for their expenses in connection with
  5
      Monetary Relief Settlement in the amount of $74,958; (3) rule that White Counsel
  6
      are entitled to a fair division of the monetary relief fee award; (4) direct the parties
  7
      engage in a dialogue aimed at agreeing on such a fair division; and (5) grant White
  8
      Plaintiffs’ an award of $3,030,392 in attorneys’ fees to reimburse them for the time
  9
      they expended in connection with the Monetary Relief Settlement (to be adjusted
 10
      by a fair distribution of fees as determined by the parties’ joint prosecution
 11
      agreement). As set forth above, however, White Counsel respectfully request that
 12
      this Court defer ruling on the amount of their attorneys’ fees until resolution of the
 13
      appeal of its order approving the Monetary Relief Settlement.
 14
 15
 16   DATED: April 20, 2018                    DANIEL WOLF LAW OFFICES
 17                                            Daniel Wolf

 18                                            CHARLES JUNTIKKA & ASSOCIATES
 19                                            LLP
                                               Charles Juntikka
 20
 21
                                        By     /s/ Daniel Wolf
 22                                            Daniel Wolf
 23
                                        Attorneys for Plaintiffs Robert Radcliffe, Chester
 24                                     Carter, Maria Falcon, Clifton C. Seale, III, Arnold
 25                                     E. Lovell, and all others similarly situated
 26   Committee (noting that materials pertaining to fee motion must be “submitted in
 27   due course, according to such schedule as the court may direct in light of the
      circumstances of the case”).
 28
                                                 12
                                                                           WHITE PLAINTIFFS’ MOTION
                                                                               FOR ATTORNEYS’ FEES
